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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




 PROTECT DEMOCRACY PROJECT,
                                                                Case No. 1:25-cv-01111
                        Plaintiff,

         v.

 U.S. OFFICE OF MANAGEMENT & BUDGET
 et al.,

                        Defendants.




                                      [PROPOSED] ORDER

        Before this Court is Plaintiff’s Motion for Expedited Summary Judgment, or in the

Alternative a Preliminary Injunction or a Writ of Mandamus. Defendants are the Office of

Management and Budget (OMB) and Russell T. Vought, the Director of OMB. The Court hereby

GRANTS Plaintiff’s Motion for expedited summary judgment and directs the Clerk to enter

judgment in favor of Plaintiff.

        It is further DECLARED that Defendants’ failure and refusal to operate and maintain the

automated system required by the 2022 and 2023 Appropriations Acts, including Defendants’

failure and refusal to publish apportionments, associated footnotes, and related information on a

public website in an Open Government Data Asset format is unlawful and shall be set aside; and

it is further

        ORDERED that Defendants are permanently ENJOINED to comply with the provisions

of 2022 and 2023 Appropriations Act relating to the disclosure of apportionments, including by



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publishing, on an ongoing basis, all information about apportionments required by the 2022 and

2023 Appropriations Acts (including all information Defendants have unlawfully failed to post

since March 24, 2025), in an Open Government Data Asset format; and it is further

       ORDERED that Defendants are permanently ENJOINED from ceasing to operate and

maintain a public website publishing the information required by the 2022 and 2023

Appropriations Acts; and it is further

       ORDERED that if expedited summary judgment is not available, Defendants are

preliminarily ENJOINED to comply with the provisions of 2022 and 2023 Appropriations Act

relating to the disclosure of apportionments, including by publishing, on an ongoing basis, all

information about apportionments required by the 2022 and 2023 Appropriations Acts (including

all information Defendants have unlawfully failed to post since March 24, 2025) in an Open

Government Data Asset format, and Defendants are preliminarily ENJOINED from ceasing to

operate and maintain a public website publishing the information required by the 2022 and 2023

Appropriations Acts; and it is further

       ORDERED that, if neither expedited summary judgment nor a preliminary injunction are

available, the Court ISSUES a writ of mandamus compelling Defendants to perform all

nondiscretionary duties required by the 2022 and 2023 Appropriations Acts, including

publishing, on an ongoing basis, all information about apportionments required by the 2022 and

2023 Appropriations Acts (including all information Defendants have unlawfully failed to post

since March 24, 2025) in an Open Government Data Asset format.


So ordered, this ______ day of May, 2025.

​      ​       ​       ​      ​          ​    ​       ______________________________​
​      ​       ​       ​      ​          ​    ​       The Honorable Emmet G. Sullivan
​      ​       ​       ​      ​          ​    ​       United States District Judge


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